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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION

                                                     §
JANE DOE 1, et al.,                                  §
                                                     §                   6:16-CV-173-RP
                Plaintiffs,                          §
                                                     §                   Consolidated with
v.                                                   §                   6:17-CV-228-RP
                                                     §                   6:17-CV-236-RP
BAYLOR UNIVERSITY,                                   §
                                                     §
                Defendant.                           §

                                                ORDER

        Before the Court is Plaintiffs’ Motion to Compel Responses to Requests for Production and

Request for Telephone Hearing filed on June 8, 2018, (Dkt. 330), the parties’ responsive briefing,

(Dkts. 336, 368), Plaintiffs’ Supplement to the Motion filed on August 9, 2018, (Dkt. 481), and the

second set of responsive briefing, (Dkts. 487, 493). Plaintiffs seek to compel Baylor’s responses to

four requests for production. (See 1st RFP Dkt. 330-1; 2d RFP, Dkt. 330-2; 3d RFP, Dkt. 330-3; and

4th RFP, Dkt. 330-4). Baylor served responses, some of which were amended. (See 2d Am. Resp. 1st

RFP, Dkt. 330-5; Resp. 2d RFP, Dkt. 330-6; Resp. 3d RFP, Dkt. 330-7; Am. Resp. 4th RFP, Dkt.

330-8). Having considered the parties’ original and supplemental submissions, the record, and the

governing law, the Court enters the following order.

                                           I. DISCUSSION

        The scope of discovery is broad. Crosby v. La. Health Serv. and Indem. Co., 647 F.3d 258, 262

(5th Cir. 2011). “Unless otherwise limited by court order . . . parties may obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the
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proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). “Information within this

scope of discovery need not be admissible in evidence to be discoverable.” Id. On motion or sua

sponte, a court must limit the frequency or extent of discovery otherwise permitted if the court

determines that (i) the proposed discovery is “unreasonably cumulative or duplicative, or can be

obtained from some other source that is more convenient, less burdensome, or less expensive,” (ii)

the party seeking discovery has already had “ample opportunity” to obtain the information, or (iii)

the proposed discovery is outside the scope permitted by Rule 26(b)(1). It is well established that

“[m]atters relating to discovery are committed to the discretion of the trial court.” Freudensprung v.

Offshore Tech. Servs., Inc., 379 F.3d 327, 347 (5th Cir. 2004).

        Since Plaintiffs filed their original motion on June 8, 2018, nearly a year has passed as the

parties and the Court have worked to resolve other discovery disputes. The Court has reviewed the

parties’ submissions and determined that some of the issues in dispute are now moot, either because

Baylor has now produced the materials, the parties have resolved them together, or intervening

discovery orders have resolved the parties’ disagreement. For example, Baylor advised in June 2018

that it was actively preparing privilege logs and would produce certain materials after all in camera

FERPA review was complete. The Court has completed all in camera FERPA review as of March 5,

2019. (Order, Dkt. 596).1 Likewise, the Court has entered orders compelling production of the

Ketchum materials, (Ketchum Order, Dkt. 616), and overruling nearly all of Baylor’s proposed

limitations on the scope of discovery, (Order on Scope of Discovery, Dkt. 565).

        To the extent that Plaintiffs’ motion is not moot, the Court finds that—with the exception

of two items addressed immediately below—Plaintiffs’ requests for production seek material that is

relevant to the parties’ claims or defenses and are proportional to the needs of the case, particularly

1Other than the redactions and omissions approved by the Court for FERPA-protected materials, Baylor
may not withhold any other materials based on FERPA objections. (See Dkts. 296, 298, 355, 356, 357, 358,
361, 362, 376, 377, 584, 585, 597).

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considering the importance of the issues at stake, the parties’ relative access to relevant information,

the importance of the discovery in resolving the these issues. See Fed. R. Civ. P. 26(b). The Court

therefore overrules all of Baylor’s objections and grants the motion to compel, except for two items:

(1) settlement agreements with former students, and (2) insurance information after the date that the

last claim arose in this action. Additionally, the Court grants the motion to compel regarding (3) the

definition of “Issues of Concern,” in accordance with the Court’s discussion below.

                         1. Settlement Agreements with Former Students

        Two RFPs seek settlement agreements with former students. Baylor is correct that discovery

of these materials affects privacy and confidentiality rights of non-parties. (Baylor Resp., Dkt. 336, at

6). Discovery is outside the scope permitted by the Federal Rules of Civil Procedure if the discovery

sought is (1) privileged; (2) not relevant to any party’s claims or defense; or (3) not “proportional to

the needs of the case.” Fed. R. Civ. P. 26(b)(1). The Court considers that Plaintiffs have not met

their burden to show that discovery of settlement agreements with former students is relevant and

proportional to the needs of the case. If Plaintiffs seek this material, they should file a motion to

compel this material, of no more than five pages, no later than May 30, 2019.

                                      2. Insurance Information

    “Request No. 66 seeks reservation of rights letters from “any carrier” regardless of whether it

provides coverage for a claim in this case, and No. 67 seeks information regarding insurance

coverage for the time period January 1, 2016, through the present, even though the last claim [by

Jane Does 1–10] arose in February 2016.” (Baylor Resp., Dkt. 336, at 7). Baylor submits that

information regarding insurance policies that went into effect after that date are irrelevant. Id. The

Court agrees that Plaintiffs have not met their burden to demonstrate the relevance of insurance

information after the latest plaintiff’s claim arose. However, the Court finds that this date should be

amended to reflect the month when the latest claim arose for the newly added Jane Doe plaintiffs.


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Because Jane Doe 11 alleges that she was assaulted in April 2017, her post-reporting claim arose

within some reasonable amount of time after she initially reported the assault. (See Jane Doe 11 v.

Baylor University, No. 6:17-cv-228-RP (Compl., Dkt. 1, ¶ 51; Order on Mot. Dismiss, Dkt. 14); Jane

Doe 12 et. al v. Baylor University, No. 6:17-cv-236-RP (Order on Mot. Dismiss, Dkt. 35, at 26

(analyzing accrual of post-reporting claims)). The parties should confer in good faith and seek to

agree to an appropriate date when this last claim arose. The Court assumes without deciding that

this date would be no later than December 31, 2017.

                                     3. Defining “Issues of Concern”

        The parties’ disagreement about the definition of “Issues of Concern” in Plaintiffs’ RFPs is

not clear to the Court.2 This Court has already ruled that, as a matter of proportionality, “student

code of conduct violations related to sexual conduct” are discoverable but other types of student

misconduct (such as “drinking or other personal conduct”) are not. (See Order, Dkt. 146, at 7–8).

Plaintiffs need not revise their RFPs in light of this order; Plaintiffs are correct that it is Baylor’s

obligation to provide responses that are not objectionable. See, e.g., Heller v. City of Dallas, 303 F.R.D.

466, 487 (N.D. Tex. Nov. 12, 2014) (“a responding party has a duty to respond to or answer a

discovery request to the extent that it is not objectionable.”). Further, “if an objection does not

preclude or prevent a response or answer, at least in part, the objection is improper and should not

be made.” Id. Baylor should respond to the requests for production in light of the Court’s prior

orders. (See Order, Dkt. 146, at 7–8).




2Baylor appears to argue that “Issues of Concern” relates to “sexual misconduct, not general misconduct.”
(Resp., Dkt. 336, at 2 (emphasis in original)). Plaintiffs appear to agree; their motion references this Court’s
definition of sexual assault. (Mot., Dkt. 330, at 6–7 (citing Order, Dkt. 302 (defining sexual assault for
purposes of discovery))).

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                                        II. CONCLUSION

        Accordingly, Plaintiffs’ Motion to Compel Responses to Requests for Production, (Dkt.

330), is GRANTED in accordance with this Order.

        To the extent that Baylor has not already done so, Baylor is ORDERED to (1) produce

unredacted and complete versions of all responsive materials consistent with the terms of this Order

and the Court’s prior Orders, and (2) file a notice with this Court certifying that production to

Plaintiffs is complete no later than May 31, 2019.

        Baylor is further ORDERED to certify that it has completed production in light of the

Court’s Order on Scope of Discovery, (Dkt. 565), no later than May 31, 2019.


        SIGNED on May 17, 2019.


                                                     ________________________________
                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE




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